
The Disciplinary Review Board having filed with the Court its decision in DRB 17-100, concluding on the record certified to the Board pursuant to Rule 1:20-4(f)(default by respondent) that JEFFREY R. GROW of ROCKAWAY, who was admitted to the bar of this State in 1975, should be suspended from the practice of law for a period of three months for violating RPC 8.1(b) (failure to **217cooperate with an ethics investigation); RPC 8.4(c) (conduct involving dishonesty, fraud, deceit or misrepresentation); and RPC 8.4(d) (conduct prejudicial to the administration of justice);
And good cause appearing;
It is ORDERED that JEFFREY R. GROW is suspended from the practice of law for a period of three months and until the further Order of the Court, effective immediately; and it is further
ORDERED that respondent comply with Rule 1:20-20 dealing with suspended attorneys; and it is further
ORDERED that pursuant to Rule 1:20-20(c), respondent's failure to comply with the Affidavit of Compliance requirement of Rule 1:20-20(b)(15) may (1) preclude the Disciplinary Review Board from considering respondent's petition for reinstatement for a period of up to six months from the date respondent files proof of compliance; (2) be found to constitute a violation of RPC 8.1(b) and RPC 8.4(d) ; and (3) provide a basis for an action for contempt pursuant to Rule 1:10-2; and it is further
ORDERED that the entire record of this matter be made a permanent part of respondent's file as an attorney at law of this State; and it is further
ORDERED that respondent reimburse the Disciplinary Oversight Committee for appropriate administrative costs and actual expenses incurred in the prosecution of this matter, as provided in Rule 1:20-17.
